          Case 3:21-cv-04670-EMC Document 70 Filed 03/31/22 Page 1 of 2




                            OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California
                                        CIVIL MINUTES
 Date: March 31, 2022                Time: 26 minutes                  Judge: EDWARD M. CHEN

 Case No.: 21-cv-04670-EMC           Case Name: Bibi v. VxL Enterprises, LLC

Attorney for Plaintiff: Gregory Paul
Attorney for Defendant: Jonathan Brophy and Lauren Schwartz

 Deputy Clerk: Vicky Ayala                               Zoom Webinar Time: 3:11-3:37

                                        PROCEEDINGS

Motion to Dismiss and Initial Case Management Conference - held

                                           SUMMARY
Parties stated appearances.

        The Court heard Defendants’ motion to dismiss. D&Y does not seek dismissal of the

retaliatory termination claim. Dr. Bibi concedes D&Y should be dismissed from the unlawful

job rejection claim. His dismissal claim against Team Health is dismissed as no new relevant

facts are alleged. The parties dispute whether Plaintiff Dr. Bibi has pled a plausible claim for

retaliatory failure to hire against Defendant Team Health. The dispute specifically relates to the
causal connection between Dr. Bibi’s protected activities and Team Health’s denials of his job

applications, which turns on whether Team Health possessed knowledge of Dr. Bibi’s prior

protected activities.

        As the Court previously held, a mere allegation that D&Y and Team Health are affiliated

companies does not give rise to a plausible inference of such knowledge. The Court noted at the

hearing that Dr. Bibi’s additional factual allegations in his SAC still fail to show that Team

Health hiring decisionmakers had information about Dr. Bibi’s discrimination complaint, EEOC

charge, and filing of this lawsuit (prior to its filing). See Raad v. Fairbanks N. Star Borough

Sch. Dist., 323 F.3d 1185, 1197 (9th Cir. 2003). Compare Polk v. Yellow Freight System, Inc.,
         Case 3:21-cv-04670-EMC Document 70 Filed 03/31/22 Page 2 of 2




876 F.2d 527, 531 (6th Cir.1989) (circumstantial evidence from which a reasonable jury could

infer the supervisor’s knowledge of the plaintiff’s protected activity); Morales v. Trinity Servs.

Grp., Inc., 2020 WL 8610852, at *1, *6 (C.D. Cal. Aug. 18, 2020) (“relevant inquiry is what

GPC knew or thought about that prior FEHA action when it made its decision not to hire

Plaintiff”). While Dr. Bibi alleges there was an admitted shortage of doctors but he was never

interviewed for any position, and he was told Team Health knew he had worked for them, there

is no indication of Team Health’s knowledge about his experience with D&Y and the San

Quentin matter.

       The Court granted Defendants’ motion to dismiss Dr. Bibi’s retaliatory failure to hire

claim against Team Health with leave to amend should evidence surface demonstrating Team

Health’s knowledge of his termination from D&Y. The Court ordered both parties to timely

engage in initial disclose of information required by the F.R.C.P. 26(a) and under General Order

71. The Court specifically noted that any communication between Team Health and D&Y (or

their affiliated companies) regarding Dr. Bibi’s employment history or job applications shall be

produced.

Court set Trial for 4/24/2023. A scheduling order will be issued.

CASE CONTINUED TO: 10/11/2022, at 2:30 P.M., for Status Conference. Joint status report
due by 10/4/2022.
